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                                                                     June 9, 2025



BY ECF

The Honorable Paul A. Engelmayer
United States District Court
Southern District of New York
40 Foley Square, Room 2201
New York, New York 10007


                   Re:    United States v. Do Hyeong Kwon, 23-cr-151 (PAE)

Dear Judge Engelmayer,

       We represent Do Kwon in the above-captioned case. We write to respectfully request an
adjournment of the conference currently scheduled for Thursday, June 12, 2025, to a date at the
Court’s convenience during the week of June 23, 2025. The government joins in this request.

       The parties are currently engaged in discussions around pretrial motions and related issues.
An adjournment would allow the parties to continue those productive discussions and potentially
avoid certain pretrial motion practice.

       This is Mr. Kwon’s first request for an adjournment of this conference. The Court
previously granted Mr. Kwon’s request for an adjournment of an earlier conference, which the
government joined. (ECF No. 26).



                                                                     Respectfully submitted,



                                                                     Michael Ferrara
